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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

    UNITED STATES OF AMERICA

    v.                                                         No. 4:21-CR-046-P

    HAYDEN BEARD (01)


                             ENTRY OF APPEARANCE AS COUNSEL

         The United States Attorney for the Northern District of Texas, Chad E. Meacham, hereby

respectfully advises the Court and all parties in interest that the above-styled and numbered case

has been assigned within the Office of the United States Attorney for the Northern District of

Texas to Assistant United States Attorney Laura Montes.

         Accordingly, it is requested that the clerk of the Court enter the name of Laura Montes as

counsel of record for the United States of America. The United States requests that all notices

relating to this case be sent to the undersigned.

                                                    Respectfully submitted,

                                                    CHAD E. MEACHAM
                                                    UNITED STATES ATTORNEY

                                                    /s/ Laura Montes
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